               Case 22-11475-mdc                    Doc 3       Filed 06/06/22 Entered 06/06/22 23:03:08                            Desc Main
                                                                Document     Page 1 of 10
Fill in this information to identify your case and this filing:


Debtor 1           Dennis Hollins
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        __________
United States Bankruptcy Court for the: Eastern       District
                                                District       of ___________
                                                         of Pennsylvania

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    ✔
        No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                         $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
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Debtor 1      Dennis   Hollins                       Document
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                                                                                        Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   ✔ Yes

   3.1.    Make:                       2017
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put

           Model:                      CX9
                                      ______________
                                                                 
                                                                 ✔ Debtor 1 only                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                       Mazda                     Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                28,000                                                                                   entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                                14,000.00                  2,500.00
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                   page 2
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Debtor 1         Dennis   Hollins                       Document
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                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔ No
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                           3,000.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         page 3
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                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   ✔    Yes. Describe. ........          various items                                                                                                                                                       500.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   ✔    Yes. Describe. .........         Cell phone                                                                                                                                                           50.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No
    Yes. Describe. .........                                                                                                                                                                   $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔  No
     Yes. Describe. ..........                                                                                                                                                                 $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   ✔    Yes. Describe. ..........        clothes                                                                                                                                                             500.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   ✔    No
       Yes. Describe. ..........                                                                                                                                                               $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
   
   ✔    Yes. Describe. ..........                                                                                                                                                                              0.00
                                                                                                                                                                                                $___________________
                                         Service Dog
14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                              1,050.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 4
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                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 ✔     Yes ................................................................................................................................................................    Cash: .......................                 20.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   ✔   No
      Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.2. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ✔
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   ✔ No                                     Name of entity:                                                                                                                     % of ownership:
   Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                          page 5
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                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 ✔ No

 Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________            $__________________
                                        ______________________________________________________________________________________
                                                                                                                                          $__________________
                                        ______________________________________________________________________________________
                                                                                                                                          $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔   No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________     $__________________

                                        Pension plan:             ___________________________________________________________________     $__________________

                                        IRA:                      ___________________________________________________________________     $__________________

                                        Retirement account:       ___________________________________________________________________     $__________________

                                        Keogh:                    ___________________________________________________________________     $__________________

                                        Additional account:       ___________________________________________________________________     $__________________

                                        Additional account:       ___________________________________________________________________     $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________      $___________________
                                        Gas:                  ______________________________________________________________________      $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                          $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                          $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                          $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                          $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                          $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                          $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                          $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________          $__________________
                                        _______________________________________________________________________________________           $__________________
                                        _______________________________________________________________________________________           $__________________


Official Form 106A/B                                                       Schedule A/B: Property                                                  page 6
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________



Official Form 106A/B                                                       Schedule A/B: Property                                                                page 7
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                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................                     20.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned


 ✔      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   ✔    No
       Yes. Describe .......                                                                                                                                                                  $_____________________



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Debtor 1          Dennis  Hollins                        Document
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                                                                                     Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ✔ No
   
    Yes. Describe .......                                                                                                                                                                      $_____________________


41. Inventory
   
   ✔ No
    Yes. Describe .......                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   ✔ No
    Yes. Describe .......             Name of entity:                                                                                                             % of ownership:
                                       ______________________________________________________________________                                                      ________%                   $_____________________
                                       ______________________________________________________________________                                                      ________%                   $_____________________
                                       ______________________________________________________________________                                                      ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
 
 ✔ No
 Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
         No
         Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
   
   ✔ No
    Yes. Give specific                ______________________________________________________________________________________                                                                   $____________________
        information .........
                                       ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________
                                      ______________________________________________________________________________________                                                                   $____________________

                                       ______________________________________________________________________________________                                                                   $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔ No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   ✔ No
    Yes ..........................
                                                                                                                                                                                                  $___________________



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                                                                                                                   10 number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

     
     ✔     No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     ✔     No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     ✔     No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list

 ✔         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                      $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................     $________________

56. Part 2: Total vehicles, line 5
                                                                                                                              0.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                   1,050.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                                  20.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                          0.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                                 0.00
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54                                                                        0.00
                                                                                                              + $________________
62. Total personal property. Add lines 56 through 61. ....................                                                1,070.00 Copy personal property total 
                                                                                                                  $________________                                                                                1,070.00
                                                                                                                                                                                                         + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                        1,070.00
                                                                                                                                                                                                          $_________________



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                Print                                       Save As...                               Add Attachment                                                                                            Reset
